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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

                Plaintiff,                            Case No. 1:05:CR:96
v.
                                                      HON. GORDON J. QUIST
ROBERT BERNARD COLLINS, JR.,

            Defendant.
______________________________/

                                             ORDER

          The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

          THEREFORE, IT IS ORDERED that:

          1.    The Report and Recommendation of the Magistrate Judge filed March 31, 2006, is

approved and adopted as the Opinion and Findings of this Court.

          2.    Defendant Robert Bernard Collins, Jr.'s pleas of guilty to Counts 9 and 10 of the

Second Superseding Indictment are accepted. Defendant Robert Bernard Collins, Jr. is adjudicated

guilty.

          3.    Defendant Robert Bernard Collins, Jr. shall be detained pending sentencing.

          4.    A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: April 14, 2006                                       /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
